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                UNITED STATES COURT OF INTERNATIONAL TRADE


 HYUNDAI HEAVY INDUSTRIES CO., LTD.,

               Plaintiff,

         and

 HYOSUNG CORPORATION AND ILJIN
 ELECTRIC CO., LTD.,

               Consolidated Plaintiffs,            Before: Mark A. Barnett, Judge
                                                   Consol. Court No. 18-00066
        v.

 UNITED STATES,

               Defendant,

        and

 ABB INC.,

               Defendant-Intervenor.


                                          ORDER

       Upon consideration of defendant’s motion to file amended administrative record

indices, it is hereby

       ORDERED that the motion is granted; and it is further

       ORDERED that the U. S. Department of Commerce shall file the amended

indices on or before May 15, 2020.


                                               /s/   Mark A. Barnett
                                               Mark A. Barnett, Judge

Dated: May 12, 2020
      New York, New York
